                                        Case 4:22-cv-04174-JSW           Document 81       Filed 08/05/24     Page 1 of 2




                                   1

                                   2

                                   3

                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                 NORTHERN DISTRICT OF CALIFORNIA

                                   6

                                   7     AFFINITY CREDIT UNION, et al.,                    Case No. 22-cv-04174-JSW
                                                       Plaintiffs,
                                   8
                                                                                           ORDER APPROVING STIPULATION
                                                 v.                                        TO AMEND CASE SCHEDULE
                                   9
                                                                                           PURSUANT TO LOCAL RULE 6-2
                                  10     APPLE INC.,
                                                                                           Re: Dkt. No. 79
                                                       Defendant.
                                  11

                                  12          Having considered the Parties’ stipulation, IT IS HEREBY ORDERED THAT the case
Northern District of California
 United States District Court




                                  13   schedule is amended in accordance with the following dates:

                                  14    Event                            Existing Deadline               New Deadline
                                  15    Initial Disclosures              December 8, 2023                Completed
                                        Substantial Completion of        June 20, 2024 (with rolling     November 22, 2024
                                  16    Documents and Data               productions being made          (excluding any documents or
                                                                         throughout the discovery        data subject to pending or
                                  17                                     period as materials are ready   forthcoming motions, and
                                                                         to be produced)                 with rolling productions
                                  18
                                                                                                         being made throughout the
                                  19                                                                     discovery period as materials
                                                                                                         are ready to be produced)
                                  20
                                        Class Certification Motion       September 6, 2024               February 7, 2025
                                  21    and Supporting Expert
                                  22    Report(s)
                                        Exchange Expert Backup           September 10, 2024 (by 5        February 11, 2025 (by 5 pm)
                                  23    Materials for Class              pm)
                                        Certification Motion
                                  24    Class Certification              December 17, 2024               May 19, 2025
                                        Opposition and Supporting
                                  25
                                        Expert Report(s)
                                  26    Exchange Expert Backup           December 20, 2024 (by 5 pm) May 22, 2025 (by 5 pm)
                                        Materials for Class
                                  27    Certification Opposition
                                  28
                                        Case 4:22-cv-04174-JSW      Document 81       Filed 08/05/24   Page 2 of 2




                                        Event                       Existing Deadline             New Deadline
                                   1
                                        Class Certification Reply   February 25, 2025             July 22, 2025
                                   2    and Expert Rebuttal
                                        Report(s)
                                   3    Exchange Expert Backup      February 28, 2025 (by 5 pm)   July 25, 2025 (by 5 pm)
                                        Materials for Class
                                   4    Certification Reply
                                   5    Close of Fact Discovery     April 12, 2025                September 15, 2025
                                        Exchange of Expert          August 21, 2025 (by 5 pm)     January 23, 2026 (by 5 pm)
                                   6    Report(s)
                                   7         IT IS SO ORDERED.

                                   8   Dated: August 5, 2024

                                   9                                             ______________________________________
                                                                                 JEFFREY S. WHITE
                                  10                                             United States District Judge
                                  11

                                  12
Northern District of California
 United States District Court




                                  13

                                  14

                                  15

                                  16

                                  17

                                  18

                                  19

                                  20

                                  21

                                  22

                                  23

                                  24

                                  25

                                  26

                                  27

                                  28
                                                                                  2
